
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Myrtle Cross appeals the district court’s order dismissing her appeal from the bankruptcy court’s order denying her motion to reopen a Chapter 11 proceeding. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. Cross v. Bankruptcy Adm’r, No. 5:08-cv-258-BO, 2008 WL 4831438 (E.D.N.C. Nov. 5, 2008). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

